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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


  NATIONAL STUDENT LEGAL DEFENSE
  NETWORK,

                         Plaintiff,
                                                       Civil Action No.: 18-1209 (TSC)
                              v.

  U.S. DEPARTMENT OF EDUCATION,

                         Defendant.


              NOTICE OF SETTLEMENT AND STIPULATION OF DISMISSAL

        Defendant, the United States Department of Education (“Defendant”), and Plaintiff,

National Student Legal Defense Network (“Plaintiff”) (collectively “the Parties”), by and through

their respective counsel, hereby stipulate and agree as follows:

        1.       The Parties do hereby agree to settle and compromise the above-entitled action

under the terms and conditions set forth herein.

        2.       Defendant shall pay Plaintiff a lump sum of four-thousand, four hundred, and

eight dollars and zero cents ($4,408.00) in attorneys’ fees and costs in this matter in complete

satisfaction of any and all claims of attorneys’ fees, expenses, costs, interest, and any other sums

related to this litigation.

        3.       Payment of such attorneys’ fees and costs will be made by an electronic transfer

of funds to a bank account specified by Plaintiff. Upon filing the Notice of Settlement and

Stipulation of Dismissal, the Parties will promptly cause the documentation necessary to

effectuate this payment to be completed and transmitted.

        4.       This Notice of Settlement and Stipulation of Dismissal shall represent full and

complete satisfaction of all claims arising from the allegations set forth in the Complaint filed in
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this action, including full and complete satisfaction of all claims for costs, attorneys’ fees, search,

review, or processing fees that have been, or could be, made in this case. In particular, this Notice

of Settlement and Stipulation of Dismissal shall include all claims for attorneys’ fees and costs,

as well as search, review, and processing fees incurred by either Party in connection with the

administrative Freedom of Information Act process, the District Court litigation process, and any

other proceedings involving the claims raised in this action.

        5.       This Notice of Settlement and Stipulation of Dismissal shall not constitute an

admission of liability or fault on the part of the Defendant or the United States or their agents,

servants, or employees, and is entered into by both Parties for the sole purpose of compromising

disputed claims and avoiding the expenses and risks of further litigation. This Notice of

Settlement and Stipulation of Dismissal is understood not to preclude or prevent Plaintiff from

seeking through the Freedom of Information Act, or other means, records not sought in the

Freedom of Information Act request that gave rise to this action.

        6.       This Notice of Settlement and Stipulation of Dismissal shall be binding upon and

inure to the benefit of the Parties hereto and their respective successors and assigns.

        7.       The Parties agree that this Notice of Settlement and Stipulation of Dismissal will

not be used as evidence or otherwise in any pending or future civil or administrative action against

Defendant, the United States, or any agency or instrumentality of the United States.

        8.       Execution and filing of this Notice of Settlement and Stipulation of Dismissal by

counsel for Plaintiff and by counsel for Defendant shall constitute a dismissal of this action with

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

        9.       This Notice of Settlement and Stipulation of Dismissal may be executed in

counterparts as if executed by both Parties on the same document.
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       10.       This Court may retain jurisdiction for the sole purpose of enforcing this

Stipulation.

April 18, 2019                             Respectfully submitted,

                                           JESSIE K. LIU
                                           D.C. BAR #472845
                                           United States Attorney

                                           DANIEL F. VAN HORN
                                           D.C. BAR #924092
                                           Chief, Civil Division

                                     By:   /s/ Brian J. Field
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